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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

South Carolina Electric & Gas Company,               Civil Action No. 3:18-cv-01795-JMC

                         Plaintiff,

        v.

Comer H. Randall, in his official capacity as
Chairman of the South Carolina Public Service
Commission; Swain E. Whitfield, in his
official capacity as Commissioner of the South
Carolina Public Service Commission; John E.
Howard, in his official capacity as
Commissioner of the South Carolina Public
Service Commission; Elliott F. Elam, Jr., in his
official capacity as Commissioner of the South
Carolina Public Service Commission;
G. O’Neal Hamilton, in his official capacity as
Commissioner of the South Carolina Public
Service Commission; and Thomas J. Ervin, in
his official capacity as Commissioner of the
South Carolina Public Service Commission.

                         Defendants.


     SCE&G’S EXPEDITED MOTION FOR AN INJUNCTION PENDING APPEAL

       Plaintiff South Carolina Electric & Gas Company (“SCE&G”) hereby moves the Court

on an expedited basis for an injunction pending appeal, requesting expedited consideration of

this motion, and would show the following:

       1.      SCE&G filed its original Verified Complaint against the members of the South

Carolina Public Service Commission on June 29, 2018, asserting that Act 287 and Resolution

285 (together, the “Act”) constituted a taking of private property without just compensation,

violated the Bill of Attainder Clause, and deprived SCE&G of its substantive and procedural due

process rights. Dkt. 1. SCE&G then moved for preliminary injunctive relief, arguing that
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SCE&G would be irreparably harmed if the PSC implemented the Act and the confiscatory rates

imposed by the Act took effect on or about August 7, 2018. Dkt. 5.

          2.    Defendants opposed the motion for preliminary injunctive relief and filed a

motion to dismiss arguing that the Complaint failed to state a claim for relief. Dkts. 31, 48.

          3.    On July 18, 2018, the Court granted intervenors’ motions to intervene. Dkt. 41.

The intervenors also filed motions to dismiss, arguing that the Court lacked jurisdiction and/or

should abstain from deciding this case, Dkts. 50, 52, and opposed the motion for preliminary

injunctive relief, Dkts. 59, 61.

          4.    On July 26, 2018, the Court partially granted the motions to dismiss. Dkt. 67.

The Court determined that it had jurisdiction to hear this case and declined to apply any

abstention doctrine. However, the Court dismissed the Complaint for failure to allege specific

acts by Defendants. The Court permitted SCE&G to re-plead its Complaint.

          5.    SCE&G filed a Verified Amended Complaint on July 27, 2018.                 Dkt. 68.

Defendants and intervenors again moved to dismiss the Amended Complaint. Dkts. 76-78.

          6.    The Court held a preliminary injunction hearing on July 30 and 31, 2018. Dkts.

92, 95.

          7.    On August 2, 2018, the Court denied the re-filed motions to dismiss of defendants

and intervenors. Dkt. 97.

          8.    On August 6, 2018, the Court denied SCE&G’s motion for preliminary injunctive

relief. Dkt. 101. The Court concluded that SCE&G’s taking claim was not yet ripe because the

final rate has not yet been set by the Public Service Commission. Id. ¶ 61. The Court also

concluded that SCE&G had not shown that it has a property right in revised rates under the

BLRA once construction ceases on a plant. Id. ¶ 78. The Court did not address SCE&G’s




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argument that the retroactive re-definition of “prudency” by the Act deprived SCE&G of its due

process rights.

       9.         SCE&G intends to seek immediate appellate review of the Court’s order denying

its requested injunction pursuant to 28 U.S.C. § 1292(a)(1).

       10.        SCE&G is aware that the Court has already determined that it is not entitled to an

injunction in this matter. Nonetheless, for the same reasons stated in its earlier motion for a

preliminary injunction (Dkt. 5), SCE&G maintains that it is entitled to an injunction pending

appeal and files this motion to perfect its appellate rights pursuant to Fed. R. App. P. 8(a)(1) and

28 U.S.C. § 1292(a)(1).

       11.        Pursuant to D.S.C.L.R. 7.02, SCE&G has conferred with defendants and

intervenors, and they oppose this motion.

       12.        SCE&G requests expedited review and consideration of this motion, because such

consideration is in the interests of justice given the substantial showing of irreparable harm that

SCE&G has made and the imminent imposition of rates that SCE&G contends are confiscatory.

       WHEREFORE, SCE&G requests that the Court (1) grant SCE&G preliminary injunctive

relief pending appeal and (2) expedite its consideration of this motion in order to speed

immediate appellate review.

       Respectfully submitted this 6th day of August, 2018.

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 6th day of August, 2018, I caused a true and correct copy of

the foregoing to be filed with the Clerk of the Court using the CM/ECF system, which will

automatically send notification of such filing and make available the same to all attorneys of

record.


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